            Case 4:98-cr-40088-JPG                     Document 441 Filed 10/28/09                         Page 1 of 3             Page ID
~AO 245D                                                         #427
             (Rev. 12/07) Judgment in a Criminal Case for Revocations
             Sheet I



                                     UNITED STATES DISTRICT COURT
                                                          Southern District of Illinois

         UNITED STATES OF AMERICA                                           Judgment in a Criminal Case
                    v.                                                      (For Revocation of Probation or Supervised Release)


                                                                                                                                          ~,--'A
                                                                                                                                            ~
                TONY M. GLADNEY

                                                                           Case No. 4:9BCR400BB·001·JPG                             /)
                                                                                                                       \90~~~ vel"
                                                                            USM No. 04218-025                              '.y~'t (,.     <'tI   V
                                                                            William A. Shirle                                I;,"i>",.~
THE DEFENDANT:
~ admitted guilt to violation of condition(s)           _a_s_a_lI_e.;::g_e_d_b_e_lo_w_ _ _ _ _ of the term of supervision.
o was found in violation of condition(s)              _ _ _ _ _ _ _ _ _ _ _ after denial of guilt.
The defendant is adjudicated guilty of these violations:


Violation Number             Nature of Violation                                                                     Violation Ended
Statutory                       The defendant committed offense of Aggravated Discharge                              05/18/2009
                                of a Firearm, Felon in Possession of Firearm, False Statement

Standard # 1                    The defent the Judicial District without permission of probation                     02/09/2008


       The defendant is sentenced as provided in pages 2 through _......:3::-_ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
o The defendant has not violated condition(s) _ _ _ _ _ _ _ and is discharged as to such violation(s) condition.
          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully pa~d. ~f ordered to pay restitution, the defendant must notify the court and United States attorney of material changes III
economic circumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 9366

Defendant's Year of Birth:         1966

City and State of Defendant's Residence:
Cahokia, IL 62206


                                                                                                    Name and Title

                                                                                  C()~/                       Date     I
          Case 4:98-cr-40088-JPG                     Document 441 Filed 10/28/09        Page 2 of 3    Page ID
AO 245D                                                        #428
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                                                                                        Judgment-Page _=-2_    of    3
DEFENDANT: TONY M. GLADNEY
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                                                     ADDITIONAL VIOLATIONS

                                                                                                              Violation
Violation Number              Nature of Violation                                                             Concluded
Standard # 2                  The defendant failed to report to probation as directed                     03/25/2008



Standard # 3                  The defendant failed to call the On-Site Drug Testing Program               04/13/2008



Standard # 9                  The defendant associated with a convicted felon without permission          05/18/2009
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 AO 245D                                                           #429
             (Rev. 12/07) Judgment in a Criminal Case for Revocations
             Sheet 2- Imprisonment
                                                                                              Judgment - Page _...;3~_ of        3
 DEFENDANT: TONY M. GLADNEY
 CASE NUMBER: 4:98CR40088-001-JPG


                                                                 IMPRISONMENT

          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
 total term of :
60 months




      o The court makes the following recommendations to the Bureau of Prisons:



      .t The defendant is remanded to the custody of the United States Marshal.
      o The defendant shall surrender to the United States Marshal for this district:
        o at ___________________ 0 a.m. o p.m. on
        o as notified by the United States Marshal.
      o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
        o before 2 p.m. on
        o as notified by the United States Marshal.
        o as notified by the Probation or Pretrial Services Office.
                                                                        RETURN

 I have executed this judgment as follows:




          Defendant delivered on                                                  to

 at   ____________________________ with a certified copy of this judgment.




                                                                                           UNITED STATES MARSHAL


                                                                           By
                                                                                        DEPUTY UNITED STATES MARSHAL
